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                 Exhibit
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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MARYLAND


 Philadelphia Yearly Meeting of the
 Religious Society of Friends, et al.,

                Plaintiffs,

 v.

 U.S. Department of Homeland                        Civil Case No. ___________
 Security, et al.,

                Defendants.



                     DECLARATION OF FRANCIE MARBURY

      I, Francie Marbury, declare under penalty of perjury, under 28 U.S.C. § 1746,

that the following is true and correct:

      1. I am Member of the Putney Friends Meeting, located in Putney, Vermont.

      2. The Putney Friends Meeting is a Worship Group of the Religious Society of

        Friends.

      3. It is part of the New England Yearly Meeting, a regional Meeting of the

        Religious Society of Friends.

      4. I began attending the Putney Friends Meeting over 20 years ago.

      5. I served as Clerk of the Putney Friends Meeting from 2006 to 2011, and again

        from 2022 to 2024.




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6. I have been part of a number of committees in my time as an attendee and

  member of the Putney Meeting, including the Social Justice Committee and

  the Childcare and First Day School Committee. Some committees require

  membership, some do not.

                Putney Friends Meeting and worship

7. I regularly attend weekly worship at the Putney Friends Meeting House.

8. The weekly worship meetings take place every Sunday, one at 8:30 a.m. and

   one at 10:30 a.m. At 10:00 a.m. we have intergenerational singing in

   between the two worship sessions. Our meetings are open and anyone may

   attend.

9. The Putney Friends Meeting congregation has approximately 100 regular

   attendees and members.

10. Putney Friends Meeting is made up of attendees and members. Attendees

   are any people who attend our meetings. Members are people who have

   gone through the formal process of becoming a member of Putney Friends

   Meeting and the broader Religious Society of Friends.

11. Attendees can become members by submitting a requestor for membership

   and consulting with a clearness committee. Following meetings with a

   clearness committee, the committee will make a recommendation to the full

   meeting on an individual’s membership, where a decision is made.

12. The Putney Friends Meeting is nonhierarchical. That means there is no

   pastor that leads worship, decides religious doctrine, or determines the



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    content of any meeting for worship. Instead, we gather in silence for

    worship.

13. At meetings for worship, the doors are opened to allow people in. People sit

    down in the worship room where the seating is arranged in a circular

    manner. We gather in silence for a period of worship that lasts one hour.

    There is no content planned in advance. If someone is moved to share a

    message, they rise and do so. When they are finished, they sit back down.

14. On the third Sunday of every month, the Putney Friends Meeting includes

    attention to business as part of the weekly worship, at 12:00 p.m.

15. On weeks where worship with attention to business takes place, the

    meeting hears recommendations from its committees about actions that the

    meeting may take and attends to perfunctory matters, like budgeting.

               Putney Friends Meeting decision making process

16. Putney Friends Meeting seeks unity in our decision-making. We seek unity

    as a body, we do not vote. Decision-making is undertaken by the whole body,

    and it does not matter how long someone has been attending meeting. Nor

    does it matter whether they are an attendee or a member.

17. It is the Clerk’s job to help the meeting consider the business before it. The

    Clerk does not control the conversation. Instead, the Clerk helps to guide

    consideration of the matters at hand.

18. The Clerk must get a sense of the unity and then test whether the meeting

    has come to unity during a decision-making.



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   Putney Friends Meeting’s immigrant community interactions

19. In addition to being open to all, the Putney Friends Meeting and its

   members engage directly with our local community in a host of ways.

20. Putney Friends Meeting has a focus on welcoming the community.

21. Putney Friends Meeting has hosted fundraising events for community

   organizations. Such events include holding a silent auction and dinner to

   raise funds for the non-profit organization the Community Asylum Seekers

   Project.

22. Attendees of Putney Friends Meeting have also raised money for the non-

   profit organization Ethiopian Community Development Counsel.

23. Putney Friends Meeting has also supported applications for grants from the

   Bodine-Rustin Fund for Support and Action three times. Funds from the

   grant go towards supporting LGBTQ members of the community, including

   asylum seekers.

24. For the last few months, the Social Justice Committee of Putney Friends

   Meeting has maintained a peace vigil in the Putney Common for two

   Saturdays a month.

25. As part of our ministry, Putney Friends Meeting has supported the local

   immigrant and asylum community. This includes individuals from Putney

   Friends Meeting volunteering with the Community Asylum Seekers Project

   and the Ethiopian Community Development Counsel. Individuals that




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    volunteer with these nonprofit organizations report back to Putney Friends

    Meeting on their progress.

26. This ministry has a long history of caring for the immigrant community. In

    the 1980s, Putney Friends Meeting was involved in supporting a local

    migrant family, and efforts to support the Putney immigrant community go

    even further back, including welcoming Southeast Asian immigrant families

    moving to the area.

27. Interactions with the community outside Putney Friends Meeting is a way

    that people learn about, and sometimes explore, the Quaker faith.

               The importance of meeting with all-comers

28. Putney Friends Meeting is open to all-comers. It does not matter if it is

    someone’s very first meeting or if they have been coming for decades. The

    doors are open, physically and metaphorically, to all at Putney Friends

    Meeting.

29. At Putney Friends Meeting, we give testimony to our spiritual lives by the

    way we live. Quakerism is not about what you believe, it’s how you live. The

    testimonies are how we live our faith: personal, family life, in the

    community, and in the world.

30. Putney Friends Meeting is rooted in our shared experience and unity.

    Instead of having a pastor, our worship involves attendees speaking during

    meeting. We believe that everyone has spirit within them, regardless of

    race, status, or background.



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